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            Exhibit 26
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              STATE OF NEW YORK                  )
                                                 )
                                                 )       ss
              COUNTY OF NEW YORK                 )




                                              CERTIFICATION



      This is to certify that the attached translation is, to the best of my knowledge and belief, a true

      and accurate translation from Spanish into English of the attached document with Bates Nos.

      LATINFOODHD_FRONTEO39997—LATINFOODHD_FRONTEO39999.




                                                              Lionbridge




                       259 W 30th Street, 11th Floor New York, NY 10001 +1.212.631.7432
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                                  Yes, I can help you develop the LatinFoodUS.Com website



   [logo:] LinkedIn

   Orlando Rios
   Consultant at IT Consultant, freelance



   Yes, I can help you develop the LatinFoodUS or LatinFoodUSA.Com website and the other one
   where you’ll have your e-catalog of all the products you work with.
   For the budget, I’d like to propose that you pay me a small monthly wage and a tiny proportion
   of your sales.
   That way, it makes it easier for you to cover the costs, and I can spend time on the project
   consistently so that we do an awesome job.

   I’d like to make a website with all the bells and whistles, so that you can establish contact with
   the Latino community here in the United States, and people will “demand” and consume your
   products in the regional Latino markets.

   I always like to tackle websites as part of an integrated marketing solution. To grow your
   customers’ customers. In your case, because you’re a distributor.

   Tell me how you’d like to start? And what budget you could allot without hurting your cash flow.

   Give me a call when you can, and if I don't answer, leave me a message and we’ll get to work.


   On 08/14/14 4:52 AM, Wilson Zuluaga wrote:
   ---------------------
   Hello Orlando...

   I have one person working on the ZENU website, but I have another request for
   LATINFOODUS.COM

   I don't know if I told you, but I have the contract for the exclusive distribution of ZENU in the US
   -




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   which is why I signed a contract for an exclusive website, zenu.us.com..

   I also need a website that includes all the products I work with..

   I’d love for us to work on latinfoodus.com

   Let me know your opinion, what we could do, and the budget I should have...

   As always, best wishes!

   Wilson.

   On 08/13/14 6:57 PM, Orlando Rios wrote:
   ---------------------
   I'm glad you liked it.

   So, tell me. Have you already made your website?


   On 08/13/14 12:11 PM, Wilson Zuluaga wrote:
   ---------------------
   Wow! - it looks like something from the not-so-near future.

   I’ve never seen anything like it!

   Great work! Creative and high-tech!



   On 08/13/14 11:39 AM, Orlando Rios wrote:
   ---------------------
   Hi Wilson,

   How’s everything going?

   Check out this website:

   http://www.latinocompass.com

   It’s a magazine that I'm launching.
   I made the website, and I’m still working on it.

   Reply to Orlando




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